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                    IN THE UNITED STATES DISTRICT COURT


             FOR THE WESTERN DIVISION OF NORTH CAROLINA


                                     Civil Action No.   ~: t '3-C.,V . . DOC qb -.fL.
           Wanda S Hudson                                           CLAIM

                Plaintiff,                                           AND

                    v.                                  SUMMARY JUDGE1\'1ENT

     TELAMON CORPORATION




                                    INTRODUCTION


     1. It is not a secret that leaders who abuse their positional power not qnly bring down

        morale, lost productivity, and create turnover but also incur grievances and cost to

        their companies. The Telamon Corporation Knightdale's Head Start Center lost their

        Director, Wanda Hudson, due to misuse of power and retaliation against her by a new

        rookie regional coordinator, Nancy Kocsi and State director, LTeisha Curtis.

     2. Plaintiff, Wanda Hudson, in Propria persona brin~s this overtime pay denial and

        REDA lawsuit under work- related stress resulting in psychiatric injury, liability for

        stress both under common law and statutory law for treble damages per violation. In

        regard to bring this action in to Federal Court both la,ws apply in this case: 1) The

        Rehabilitation Act Section 504 as filling this lawsuit without a right -to -sue letter

        , and 2) as EECO issued a right to sue letter on Decembe~ 11, 2017. Telamon

        Corporation receives federal funding as the Head Start program which falls under

        Section 504. Also, 3) the Civil Rights Act of 1964 and requesting jury trial for;

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3. Breach Telamon Corporation Code of Ethics and Telamon Corporation Policy that is

   the contract, contemplating pretext retaliatory egregious behavior resulting in my

   involuntarily resignation due to threaten my health and safety, which is pretext

   constructive dismissal th.at is equal to the wrongful termination without the Board

   investigation or approval, my prior injury aggravation to my shoulders/ arms and

   trauma, work related burnout leading to the final exhaustion while working long

   hours of unpaid overtime and plus pretext mental injury/intentional emotional distress

   due to the pretext nefarious attack on June 8, 2017 after an intense 10 days intentional

   harassed hostile work environment and upon request refusal to provide medical help

   via Workers Compensation, defamation per se, hostile work environment as the

   retaliatory work place violence, retaliation within violation of the First Amendment

   while speaking against the new supervisor's egregious behavior and communicating

   threats to injure my staff and myself if her orders that violates policy, laws and

   potentially everyone's safety or increase high turnover with an extent to children and

   public safety equals to extortion, unpaid overtime wage and unpaid PTO, possible

   age, and national origin discrimination, retaliation of protected activities, refusal to

   rehire, refusal to take responsibility in stated exhaustion arising out of workplace and

   pretext final emotional injury as an actual deliverance of the threat, further

   defamatory pre se as retaliation and endangering of my life without medical care and

   income to live, corporate responsibility to me and the public, misuse of the Federal

   funds via fraud as of retention via wrongful pretext termination, toxic corporate

   culture and failure to do the right thing by the entire corporation and their insurance

   carrier, extended Weingarten rights to unrepresented non- union employees violation



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         of Section 8 (a) (1),discriminatory retaliation and pretext forced termination within

         Civil Rights Act of 1964 violation, Title VII potential violation and within an Equal

         Paid Act, Disability Discrimination Act of 1995, Tort negligence per se in pretext

         constructive dismissal as perjury and defamation per se in watering down my

         supervisor's explosion towards me and the threats communicated towards me and my

        staff, corporate responsibility, strict liability, and breach of duty to protect me from

        both physical and psychological harm and retaliation against me for protecting my

        staff, SOX mandatory provisions and retaliatory whistleblower protection, work -

        related stress resulting in psychiatric injury, liability for stress both under common

        law and statutory law.


                              PRELIMINARY STATE1\1ENT


1.       Wanda Hudson, a former center director for Knightdale location, in this position

     from January 17 of 2017 to June 08 of 2017, seeking the declaratory judgment relieve

     under the common and statutory laws, and Full Civil Gibeon appointed attorney in this

     case under the Rehabilitation Act of 1973 Section 504 as an access to the justice.

                                           JURIDICTION

2.         This court has jurisdiction over plaintiff's claims pursuant to 28 U.S.C, 1331. This

     Court has supplemental jurisdiction as of the EEOC Federal Agency's issued a right - to

     - sue letter issued on December 11, 2017.


                                           VENUE


3.         Venue in this Court is proper as to all Defendants pursuant to 28 U.S.C. § 1391 (a)

     (2) and (b) (2) because the events giving rise to the claims occurred within this district.


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                                          PARTIES




4.       Plaintiff, Wanda Hudson is a foreign national living woman currently unemployed

     and injured with aggravation of preexisting injuries due to this job not only that any

     accommodations that were not made but I worked an extended long unpaid hours and

     then intentionally pretext constructively dismissed and injured for exercising my first

     amendment rights to protect my staff and myself from threatened workplace violence

     and retaliation against protected activities within the violation of the company's own

     policies that consider to be the contract and then an intentional infliction of emotional

     distress resulting in an acute depression arising from out the workplace dispute, and

     finally defamation pre se. From January 17 of 2017 to June 08 of 2017 I have worked for

     Telamon Head Start located in Knightdale, NC.

5.        Defendants are TELAMON CORPORATION and representatives of this

     corporation are LTeisha Curtis, State Director, and Nancy Kocsi, regional coordinator,

     they are subjects of this lawsuit. They are sued in their official and individual capacity.


                                       EXHAUSTION


6. I have contacted Telamon Corporation informing them of the situation and injury. The

     medical help was not provided by this organization or their insurance carrier. My

     worker's compensation claim was denied. There is no corporate responsibility to their

     injured employees due to their pretext intentional emotional infliction of stress and

     aggravation of injuries.

7. The EEO was contacted. The letter a right to sue was issued on December 11. 2017.


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8. The Rehabilitation Act of 1973 Section 504 applies to organizations who accept federal

   funding and there is no need for a right - to - sue letter to be issued. So, if for some

   reason this Court denies my claim, I am asking allow to continue to proceed under

   Section 504 statutory right.

9. Also, there is no need for a letter to sue for unpaid overtime, or age discrimination, or

   REDA pretext constructive dismissal.

10. Under undue and ongoing health and living conditions in the name of justice and as my

   right of ADA accommodation I am requesting for the Court to appoint Full Civil Gibeon

   legal representation and for DOJ to intervene under the Civil Rights Act of 1964.


                               STATEMENT OF FACTS


11. The nefarious retaliatory attack on me by my condescending bosses LTeisha Curtis, State

   Director, and Nancy Kocsi, Regional Coordinator, occurred on June 8, 2017. Their

   nefarious action resulted in constructive dismissal as the pre-textual adverse employment

   action with the incurring injuries to my entire well-being. This behavior is a culture in

   this organization. Please see an employment review comment

12. As a matter of law, the contemplating Disciplinary Interview prepared by Nancy Kocsi,

   Regional Coordinator, and supported/implemented by LTeisha Curtis, State Director, or

   any information obtained during this interview up to and including my involuntarily

   resignation in violation ,of Weingarten Rights shall be excluded from any eventual

   resignation/discharge or discipline.

13. Also, this was crystal clear retaliation for addressing alleged unfair employment

   practices, verbally defending my staff and me from threatened hostility and coercion, and



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   exercising both the Public Policy Law and Telamon Corporation Policies, such as Duty to

   Warn under Telamon's policy section 1022.

14. I was escorted by the Sheriffs saying that I was trespassing when I was in my office and

   my staff was informed that I am not allowed stepping on the property. This is the crystal

   clear defamation per se.

15. My furniture and many things are left there. I would like to be reimbursed for furniture

   and recover rest of the small belongings left there.

16. Pretext generally refers to a reason for an action which is false and offered to cover up

   true motives. This is crystal clear evidence that my constructive dismissal was
        \,




   contemplating retaliation and defamation pre se to the Sheriffs as if I am trespassing

   while I am in my office being detained after hours by perpetrators. Who calls Sheriffs

   for a voluntarily resignation? Even Sheriffs questioned that. . .later on I have learned that

   Curtis called the Sheriff stating the trespassing. That is perjury and defamation per se. I

   did not know about their pretext intent to harm me.

17. Nancy Kocsi threatened NC25 staff with her authority/power during the staff meeting on

   June 01, 2017. Approximately 8:30 am at my office Nancy Kocsi yields at me while I

   informed her in regards TB test coerced action results as well as during that time LTeisha

   Curtis steps into the reception area (its seems to me that Nancy wanted to show up to

   LTeisha that she is doing her job or she is insecure in her own skin; LTeisha definitely

   heard this incident), and;

18. 12:15 pm, in the reception area, I confronted Nancy, and then approximately 1-1:30 pm,

   after confrontation, Nancy delivers her defamatory/retaliatory Memo to my office and

   forced me to sign it. Furthermore, during the staff meeting, Nancy loudly threatened my



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   staff with her authority and write-ups. She said- "if the Director, Wanda Hudson, will

   don't write you up, then I will write her up and all of you as well" - this is

   extortion ... Suddenly, without any notice, Nancy forced me to change my leadership style

   from democracy and servant -leadership style to dictatorship style by undermining my

   staff's self- esteem and ownership of Telamon Corporation as stated in our core values

   and policy.

19. I tried to make the difference in my staff lives and worked with them side by side.

   Nancy Kocsi with her threats that complete opposite to her job description and :relamon

   policy created the hostile work environment. However, LTeisha Curtis, State Director,

   said-"that what I like about Nancy, that why I hired her" ... really? She hired her to create

   work violence and to waste human capital and perhaps endure legal damages for

   Telamon Corporation?

20. I have informed/warn Nancy not to threat my staff or me in any way, shape, or form and

   that shall prior legal and organizational steps shall be taken and that any threats will do

   more damage than good and will induce only a high turnover rate arid that we are short of

   staff now and that I am unable to do my job during work hours because of it and ratio

   regulations must be maintained so I am working long hours after hours. I said to her that

   she do not have any right to speak this way not to me nor to my staff and that I will NOT

   going to yield on my staff or going to be her puppet nor breach any ethical or legal

   boundaries. Nancy called it again as an argument and resistance to her directives and

   proceeded with her retaliatory Memo on June 1 of 2017 and Contemplating Disciplinary

   Interview on June 8 of 2017. Unwarranted Memo is a crystal clear adverse retaliatory




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    action taken instantly against me for engaging in protected conduct such as Duty to warn

    in policy section 1022 not to yield and threating me and intervening to protect my staff.

21. Also, Unwarranted Contemplating Disciplinary Interview violated my Weight Rights,

    clearly shows repeated and continue retaliatory actions against me for my protected

   conduct and legal request to stop the threats /work place violence within the frames of

   policy and law, for submitting report timely, for addressing problems with TB testing

   and outdated requirement for it, informing the state director of Nancy Kocsi behavior ,

   civic responsibilities and duty of care, and for requesting my personal leave time to

   appear in court that as an exempt employee that should be always granted, for warning

   state director that Nancy behaves above the law and policy.

22. Since when 'Duty to Warn' in good faith as stated in the Personnel Manual (PM) section

    1022) became an argument as an initiator Nancy Kocsi stated that and her ally, LTeisha

   Curtis, said nothing to Nancy about it but covered - up that behavior herself while

   continued the same behavior towards me, which resulted with the pretexted retaliation

   and tangible employment action from both of them? This is a second deliberation under

   the applicable law. This is a crystal clear defamation pre se of my character. This is

   willful retaliation!

23. A cover -up is an attempt/intent/fraud whether successful or not, to conceal evidence of

   wrongdoing and initiators or their allies shall be legally responsible for a misdeed up to

   expose them to criminal prosecution.

24. I was purged from my position for speaking on behalf of my staff and myself in order to

   improve work conditions and objecting to her coercion to do what is unethical and illegal.




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25. Nancy Kocsi had created a hostile work environment by threats, coercion, lies, fear and

      mistrust in opposite to her job description (speak tactfully, be supportive), laws, and

      policy while being supported by LTeisha Curtis to behave that way causing tangible

      employment action for me.

26. Also, LTeisha's support of Nancy's nefarious purpose and egregious behavior has

      destroyed everything instantly what I and my staff have worked for. There is nothing

      more to compare to just as of the intruder entering your home and asking to abuse your

      children or if not than that intruder will abuse you- mom and your -children ... This

      comparison is no different as if our home being invaded by the intruder or the

      organization by the control freaks or narcissistic personalities. This is the red flag for the

      school and public safety. I was constructively dismissed for addressing those issues.

27. Wanda informed the State Director, LTeisha Curtis in regards Nancy's behavior, in fact,

      LTeisha Curtis witnessed it by herself but she also ignored it and continually supported

      this kind of behavior resulting in an adverse employment action and loss of human

      capital for Telamon Corporation.

28.    This is a plain abuse, fraud and waste that must be reported according to

      Telamon's Code of Ethics. This constitutes the waste of federal funding provided to this

      organization.

29. On June 8, 2017, I experienced the similar malicious pretext retaliatory attack with a

      disciplinary interview as a constructive dismissal now from both LTeisha Curtis and

      Nancy Kocsi as the result to objecting to the workplace violence.

30. Also, on June 8 of 2017, I was denied to take time off for the Court appearance for my

      civic responsibility. Then, both Nancy and LTeisha retaliated against me for taking 2 l/2



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   hours off while violating the Employment Public Accommodation Law, Public Service

   Leave Law, Telamon Policy section 319, and my Civil Rights. This is a double-edged

   retaliation against me just for standing or doing what is right swept me off my life

   financially and mentally. I am still in a shock in regards LTeisha Curtis's hypocrisy ... I

   trusted her and I was double hurt as it appears now that she used the collected

   information to hurt me, which demonstrates her malicious fraudulent intent and that her

   WORD doesn't mean anything! It is completely opposite to our Core Values and Code of

   Ethics!

31. if I have not submitted email to DCDEE, as Nancy stated in her Disciplinary Interview

   Form paragraph 4, then the Telamon Corporation would be vicariously liable for the

   Detour damages (action from Nancy's instructions) or Frolic (my own actions) negligent

   acts or omissions by their employees in the course of employment. However, I did

   submit that report on time under the extreme pressure and intentional blocking to do so

   by both LTeisha and Nancy, including work constrains and staff shortage. But anyway, I

   am being punished for that as if it was not submitted or resubmitted with tangible

   employment action. Why? That is crystal clear pretext intent to trip me so they can take

   action against me anyway.

32. Furthermore, even I have saved Telamon Corporation liability by emailing that report

   timely to DCDEE, I was still interviewed and punished with the constructive dismissal.

   Telamon now is vicariously liable for both LTeisha and Nancy's behavior towards me

   resulting in tangible employment action. Also,

33. DCDEE is vicariously liable for occurred tangible employment action as well under this

   doctrine because of the Licensing Consultant's communications to Peggy, Nancy, and



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   LTeisha by not responding to me in regards my request and excluding me from their

   communications. Also,

34. My conduct is lawful and protected in the eyes of the law. My conduct did protected

   Telamon Corporation as well but my Condescending bosses took an adverse action

   because I engaged in protected conduct.

35. I did submit that report timely under unusual circumstances. Why, am I being disciplined

   for? Is that not clear evidence of hate towards me and retaliation?

36. While I was working on the report's corrections, I was interrupted by many distractions.

   Contractors come back to clean the light covers. This work was prior approved and

   needed to be done imminently due to the Sanitation violations. However, LTeisha Curtis,

   asked me to dismiss them! Why? It appears that she tried to set me up again? Then she

   wanted to see David, the bus driver. When they left for their lunch break, David came to

   my office and we both waited on them. It was approximately 5 pm when David left my

   office because LTeisha did not returned my text informing us when she is planning to

   return. Also, not knowing what had happened and when Nancy will back, I resubmitted

   that report to the Licensing Consultant before the closing business day; as was agreed

   upon. Once again, Nancy tried to trip me by instructing me not to resubmit until she will

   back, but she nor called nor responded to my calls making me wondering if they are in an

   accident or worse. I did not have another choice just to resubmit that report as it was my

   duty. When, the bus driver left, I wanted to leave too. However, I was unable to leave

   because Nancy's car was on NC 25 property, I did not knew what had happened, I was

   not sure or to lock the doors or to leave them unlocked, and I worried. Either I or David,

   the bus driver, should be "held tied" in my office after the hours without informing us.



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   Their behavior is a direct unrespect to us and their words, totally apposite to Telamon

   Corporation Core Values and Policy. I am still in shock! Am I dreaming?

37. Approximately 6 pm, both LTeisha and Nancy came back. Both of them walked in to my

   office, Nancy set in front of me and started loudly to read her written Disciplinary

   Interview. The Disciplinary Interview was unwarranted and their pretext behavior was

   unwelcome. It was after hours. It was not my choice to stay any prolonged hours on that

   day. It appears that I was held captive until attack. It came as an attack without any

   witness. Remember, it was after hours. There no one was available to witness and they

   refused to reschedule it. Why I was held captive and then attacked after hours? This is

   passive -aggressive workplace violence! \Y}ly they called police while I was gathering

   my things but not during the Disciplinary Interview, just to intimidate me? I have

   informed police that I did not resigned voluntarily and explained in detail the

   circumstances. I have departed approximately 8: 30 pm. It shall be 4:30pm. This is a

   direct violation of Weingarten Rights, Civil Rights, own polices and laws. This is a

   willful pretext retaliation done knowingly and in their bad faith with a malicious intent

   hoping for an adverse action to happen (that I will resign). However, the Disciplinary

   Interview and Memo is an adverse action already happen in the light of pretext

   retaliation, which let to circumstantial coerced resignation. ***Within violations of

   Rights, Laws, and own policy this is invalid resignation further resulting in an intentional

   blocking to come back to my position or building and escalating prolonged injuries and

   suffering.

38. Their pretext actions traumatized me! I am still in disbelieving stage that both of them

   can be such wicked individuals. I was holding captive without informing me where they



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    are. This was a clear pretext attack based on their bad faith with intent to hurt me

   knowingly. That was betrayal form LTeisha and crystal clear retaliation in response to

   my protected activities by law and corporate policy. Workplace violence includes abusive

   behavior toward authority, intimidating or harassing behavior, and threats

39. An employee doesn't have to bring a formal complaint to be protected from retaliation.

   Under Title VII of the 1964 Civil Rights act, those who "oppose" an illegal practice are

   protected from retaliation. Also Duty to Warn policy section 1022 encourages and

   protects from retaliation. If engaged protected activity resulted in materially adverse

   action it constitutes retaliation under Title VII. Materially adverse" action against an

   employee may constitute retaliation under Title VII and other civil rights statutes, if the

   action might deter a reasonable employee from making a complaint or otherwise

   engaging in protected activity. I was retaliated not only my supervisor but my

   supervisor's supervisor for reporting my supervisor's behavior and exploding on me.


40. I was forced by Nancy Kocsi and LTeisha to get TB test such if she is a doctor and

   practicing medicine without a medical license. When I went for a medical checkup, I did

   ask for TB assessment. I was informed by a doctor (many times) that if TB positive due

   to the childhood vaccine and ruled out with an x-ray that there only need to report for

   checkup only if the symptoms occurs. The stated information was presented upon hiring

   and was accepted. Upon the State Consultant's visit it was explained to the Consultant

   again. I was forced to produce the TB test results. I went back to the same medical office

   on May 31, 2017 asking for them to provide to me the written updated statement of

   assessment. I got the same answer. On June 15\ 2017 I explained the situation to my

   supervisor and said that I will go in person later on this morning upon opening to the


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   Health Department since Health Department has my records but there is not guarantee.

   Then, my supervisor explodes on me demanding for me to leave right now and to bring

   the results or she will terminate me. I went to the Health Department knowing that the

   department still was closed. I made an earliest available appointment with no guarantees.

   I was forced by the State director to pay high deductible in order to see a different doctor

   as she recommended her doctor. I informed my supervisor Nancy Kocsi that I was not

   able to produce TB test results or assessment but I set an appointment. I went back to my

   doctor's office to speak with the manager. Nancy Kocsi threatened to report a doctor to

   the medical board if she not achieves her desired results. I was placed between an

   impossible imminent requirement to produce the results when a doctor follows his

   policies and procedures and I am being forced by my supervisor to meet her expectations.

   I did my own research and to the great surprise my doctor office was right. The State

   Consultant and Telamon refused to listen and proceeded with retaliation towards me for

   sharing information instead updating the required" law" in regards TB testing, which is;

~ l.] According to the Centers for Disease Control and Prevention, TB tests are generally not

   needed for people with a low risk of infection with TB bacteria. AB 1667 Williams

   (Chapter 329) TUBERCULOSIS TESTING IN SCHOOLS amends outdated universal

   tuberculosis (TB) testing requirements for school employees, volunteers and contractors

   to require TB testing only when risk factors for TB are identified. Beginning on January

   1, 2015, the screening and testing regime is as follows: •A person shall not be initially

   employed by a school district, or employed under contract, in a certificated or classified

   position unless the person has submitted to a tuberculosis risk assessment within the past

   60 days. • If no risk factors are identified, an examination is not required. Employees who



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    have not identified risk factors or who test negative for TB are required to undergo

    screening every four years. • If tuberculosis risk factors are identified, the person must

   be administered a TB test.• If the TB test is positive, it must be followed by a chest x-ray

    to exclude active infectious TB. • If a person has a documented positive TB test for

    infection followed by an x-ray, the questionnaire is no longer required for that

    person, but the person will need to self-report to his or her primary care physician if

   signs of TB develop.

42. Those are the facts. However violence and retaliation occurred towards me for stating my

   experience and educating on TB current updated requirement. However, according to the

   law, there shall not be forced any vaccinations or test against your will for an exchange

   for employment. I produced the written statement by a manager however I did not avoid

   instant retaliation and disciplinary interview resulting in pretext constructive dismissal.

   This is not much different as forcing nurses to have a flu shot in order to work resulting

   in millions lawsuit settlement.

43. Retaliatory action continue withdrawing needed help to finish final report with being

   short staff I barely made it, but it upset my supervisor with more pretext retaliation and

   more illegal retaliation against protected activities addition to TB ordeal it was the need

   to take time off to go to court for illegal traffic stop. Placing me in the position to lose

   my job if I do not go because of failure to appear or pretext constructional dismissal when

   I went.

44. I took 2 hours from work to go to the court as states in the policy book I came back but I

   was met with resistance and later on with pretext emotional injury and constructive




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dismissal and denied medical access under Workers Compensation leaving me to face

survival.


                                 RELIEF REQUESTED



WHEREFORE, Plaintiff in pro pe requests the following relief from this Court:

1. A declaratory Judgment that the practices, acts and omissions complained of herein

   violated the stated companies policies that it's the contract itself, specified laws, and

   Plaintiff's rights;

2. DOJ intervention under Civil Rights Act 1964 and public safety with coercion of

   outdated TB test requirements that indeed is illegal in the first place. Intentional

   violation of contract as the company's policy that allows taking PTO to civic

   responsibility. In Conspiracy in violation of my rights being undue injured.

3. Telamon Corporation operates in a few states of an union and non- union members

   with the main office in Raleigh, NC so Weingarten rights to unrepresented

   employees within violated section 8 (a) (1) shall apply in this case as a matter of

   law per Weingarten Rights - if not request be granted shall be immediately restored. I

   shall be restored to my position or higher. However due to the intentional pretext

   emotional distress that resulted in an acute depression or aggravation of traumas

   preventing me to work with children in this condition, the defendant shall pay

   compensatory damages, unpaid overtime and PTO, remaining unpaid annual salary of

   2017 and continue to pay an yearly salary until retirement or until health condition

   resolves which comes first and including retirement.




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4.   Equal Pay Act to pay an immediately owned overtime (case law) and PTO, half of

     the year remaining salary, daily allowances, compensatory damages as a corporation

     and individually, punitive damages.

5. Compensatory damages against each Defendant, jointly and severally

6. Punitive damages against Telamon Corporation for a contributory wrongdoing not

     stop, failure to provide medical care, violating their own policies and code of ethics

     not firing Nancy or Curtis as stated per Telamon policy however resulting against me

     for duty to worn as stated in their policy. This is a crystal clear not only retaliation

     for protected activities but also as the discrimination in national origin, disability,

     age, an intentional egregious behavior cover up, defamation per se, Corporate

     responsibility and duty to care to prevent injuries but not intentionally cause them.

7. Retention of jurisdiction over defendants and possible third parties or persons if any

     until such time that the Court is satisfied that defendants' violation of their own

     policies as constitute as the contract that shall be strictly reinforced as a matter of law,

     unlawful practices, acts, and omissions no longer exist and will not recur.

8. Reasonable attorney's fees and costs for either myself as a plaintiff in pro per, any

     legal representative appointed or DOJ upon intervention of violation of Civil Rights

     Act 1964, Tittle VI , public safety of corporate responsibility and abuse of federal

     funds Rehabilitation Act 1973 504 to proceed without a letter to sue if courts

     decides that EEO given time to sue is not enough for DOJ or volunteering or

     appointing lawyer to intervene. A reasonable attorney's fees and costs pursuant to 42

     U.S.C. §1988; and




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9. I shall be restored to my position or higher and endured damages shall be paid

   including statutory wage, overtime, loss PTO compensation and all necessary medical

   -neurological services provided in order to recover from the contemplating retaliatory

   disciplinary interview resulting in constructive dismissal and injury, and future salary.

10. The demand shall include pain and suffering, punitive damages, compensatory

   damages, medical care, financial restoration. Demand of lawsuit is $ 11,000,000

   (eleven million).

11. Such further relief as the Court may deem just proper.




                                DEMAND FOR JURY TRIAL



   The plaintiff requests a trial by jury on all issues triable by a jury.


Respectfully submitted, this the 9th of March of 2018


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                                                            In Pro per - Wanda Hudson

                                                               P.O.Box473
                                                               Morrisville, NC 27560




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                               CERTIFICATE OF SERVICE


        I certify that I have served a copy of CLAIM AND SUMMARY JUDGEMENT


on March 9, 2018 with the Clerk of the Court personally and mailed to the defendant certified

mail at the Raleigh Office:


                                      310 New Bern Avenue

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   Respectfully Submitted,

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